
57 N.Y.2d 906 (1982)
In the Matter of North Ridge Enterprises, Inc., Appellant,
v.
Town of Westfield et al., Respondents.
Court of Appeals of the State of New York.
Decided October 19, 1982.
Michael J. Bollender for appellant.
Robert H. Daley for respondents.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [g]), order affirmed, with costs. The record supports the town board's determination for which there is a rational basis.
